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 1   Tami Kameda Sims (SBN 245628)
     Tami.sims@katten.com
 2   KATTEN MUCHIN ROSENMAN LLP
     2029 Century Park East, Suite 2600
 3   Los Angeles, CA 90067-3012
     Telephone: (310) 788-4400
 4
     Terence P. Ross (Pro Hac Vice)
 5   terence.ross@kattenlaw.com
     Sean S. Wooden (Pro Hac Vice)
 6   sean.wooden@kattenlaw.com
     Christopher B. Ferenc (Pro Hac Vice)
 7   christopher.ferenc@kattenlaw.com
     KATTEN MUCHIN ROSENMAN LLP
 8   2900 K Street, N.W., Suite 200
     Washington, D.C. 20007
 9   Telephone: (202) 625-3500
     Facsimile: (202) 298-7570
10

11   Attorneys for Plaintiff
     directPacket Research, Inc.
12
                             UNITED STATES DISTRICT COURT
13
                          NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15
     DIRECTPACKET RESEARCH, INC.                 Case No. 3:19-cv-03918-JD
16
                         Plaintiff,              The Honorable James Donato
17
     v.                                          AMENDED JOINT CASE
18                                               MANAGEMENT STATEMENT
     POLYCOM, LLC,
19                                               Date: March 2, 2023
                                                 Time: 10:00 AM
20                                               Place: Courtroom 11, 19th Floor
                                                 Judge: Hon. James Donato
21                       Defendant.
                                                 Complaint Filed: June 22, 2018
22
                                                 Trial Date: None set
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                        AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1            Plaintiff directPacket Research, Inc. (“directPacket” or “Plaintiff”) and Defendant Polycom,

 2   Inc. (“Polycom” or “Defendant”) (collectively referred to as the “Parties”) jointly submit this

 3   Amended Joint Case Management Statement & Proposed Order, pursuant to the Standing Order for

 4   All Judges of the Northern District of California, dated January 17, 2023, and Civil Local Rule 16-

 5   9 in Case No. 3:19-cv-03918-JD. The parties are filing this Amended Statement to correct

 6   inadvertent errors in the Statement previously filed on February 23, 2023 (ECF No. 263), including

 7   in the parties’ proposed case schedule in Appendix A.

 8            I. JURISDICTION & SERVICE

 9            The Court has subject matter jurisdiction over the Parties’ respective claims and

10   counterclaims under 28 USC §§ 1331 and 1338(a). The Parties agree that personal jurisdiction and

11   venue are proper. The Parties have been served with all filings in the case.

12            II. FACTS

13               A. directPacket’s Statement

14            Plaintiff directPacket filed suit in the U.S. District Court for the Eastern District of Virginia

15   on June 21, 2018, alleging that Polycom infringes at least one or more claims of three patents – U.S.

16   Patent Nos. 7,773,588 (the “’588 patent”); 7,710,978 (the “’978 patent”); and 8,560,828 (the “’828

17   patent”) (together the “Patents-in-Suit”). Each of the Patents-in-Suit claim inventions that are

18   critical to the way videoconferencing is conducted over the Internet and represent significant

19   improvements over prior solutions. (Compl., ¶¶ 15-18, 20, 22). Since at least 2007, directPacket has

20   sold videoconferencing products that practice the inventions claimed in the Patents-in-Suit. (Id. at

21   ¶ 23)

22            directPacket has alleged that several Polycom products are used (by Polycom and/or its

23   customers) in a manner that infringes the Patents-in-Suit, including at least Polycom’s Video Border

24   Proxy, RealPresence Access Director, RMX, RealPresence DMA system version 10.0 (together, the

25   “Accused Products”).

26            Unlike typical transferred cases, this case was transferred more than a year after its inception

27   and had progressed significantly since the filing of the Complaint on June 21, 2018. Polycom’s first

28   effort     to    transfer     this   case    pursuant     to    Section    1404     was     denied     on

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                                 AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1   October 4, 2018. (Dkt. No. 27).1 Polycom then moved again for a convenience transfer on February

 2   15, 2019 (Dkt. No. 48). That second motion went undecided for five months while the parties

 3   completed all initial claim construction procedures including simultaneous opening claim

 4   construction briefs by each party, conducted discovery, litigated discovery disputes, and prepared

 5   for opening expert reports due in August. The case was well along and more than a year old when

 6   the Virginia District Court Judge suddenly granted the motion to transfer for convenience in the

 7   middle of claim construction briefing on July 3, 2019. (Dkt. No. 132).

 8         Once transferred, the case progressed through the following deadlines:

 9         Scheduled Event                                           Date
10         Disclosure of Infringement Contentions                    October 7, 2019
11         Invalidity Contentions                                    November 1, 2019
12         Exchange of Proposed Terms for Construction               November 8, 2019
13         Damages Contentions                                       November 22, 2019
14         Joint Claim Construction and Prehearing Statement         December 13, 2019
15         Further Case Management Conference                        December 20, 2019
16         Responsive Damages Contentions                            January 10, 2020
17         On January 13, 2020, the Patent Trial and Appeal Board (“PTAB”) granted institution of three
18   inter partes review petitions filed by Defendant Polycom, Inc. regarding each of the Patents-in-Suit
19   – IPR2019-01233; IPR2019-01234; and IPR2019-01235 (collectively, the “IPR Proceedings”). On
20   January 16, 2020, the Court stayed this lawsuit pending a final decision by the PTAB in the IPR
21   Proceedings. (ECF No. 233).
22         In IPR2019-01233, the PTAB issued a Final Written Decision on Remand holding that
23   Polycom has not shown Claims 1-23 of the ’588 patent are unpatentable. In IPR2019-01234, the
24   PTAB issued a Final Written Decision holding that claims 2-5, 15-17, 23-26, 29, and 30 of the ’978
25   patent are unpatentable, and that claims 8, 9, 19, 20, 27, and 28 were not shown unpatentable. Claims
26   1, 6, 7, 10–14, 18, 21, and 22 of the ’978 patent were disclaimed. In IPR2019-01235, the PTAB
27

28   1
      The Court expressly found that venue was proper in the U.S. District Court for the Eastern
     District of Virginia. (Id. at 5).
                                                   3
                            AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1   issued a Final Written Decision holding that claims 1-23 of the ’828 patent are unpatentable. In sum,

 2   each and every claim of the ’588 Patent and claims 8, 9, 19, 20, 27 and 28 of the ’978 patent are

 3   valid and enforceable.

 4         On January 6, 2023, the Court lifted the stay in this case. (ECF No. 248). On January 17,

 5   2023, the Court set a Case Management Conference for March 2, 2023.

 6            B. Polycom’s Statement

 7          While Polycom does not agree with any allegations of infringement in directPacket’s

 8   Statement, it does generally agree with the timeline set forth. And, although claims 8, 9, 19, 20, 27,

 9   and 28 of the ’978 patent were not shown to be unpatentable in IPR2019-01234, those claims are

10   not asserted in this litigation. Indeed, according to directPacket’s October 7, 2019 Supplemental

11   Infringement Contentions, directPacket asserts infringement of claims 1–7, 10–17, 21 and 22 of the

12   ’978 patent. See ECF No. 217-2 (Confidential Exhibit 1 to Polycom’s Motion to Compel).

13   Accordingly, now that the stay has been lifted, the only claims at issue in the litigation are claims

14   1-4, 6-9, 11-14, 16-21, and 23 of the ’588 patent. There are no longer any claims from the ’978

15   patent or the ’828 patent at issue.

16         On December 5, 2019, Polycom filed a Motion to Compel directPacket to Comply with Patent

17   Rule 3-1 and/or to Strike Plaintiff’s Infringement Contentions. (ECF No. 217). On December 6,

18   2019, Judge Koh referred Polycom’s motion to Magistrate Judge DeMarchi for disposition. (ECF

19   No. 219). On December 19, 2019, directPacket filed its opposition to Polycom’s motion together

20   with a supporting declaration. (ECF Nos. 221 and 222). The Court set a hearing on Polycom’s

21   motion for January 14, 2020. (ECF No. 220). Magistrate Judge DeMarchi held the hearing and

22   granted Polycom’s “motion to compel amended infringement contentions … for the reasons stated

23   on the record.” (ECF Nos. 234 (hearing transcript) and 227 (order)). directPacket was ordered to

24   serve amended infringement contentions by January 28, 2020 and further narrow the number of

25   asserted claims. (ECF Nos. 234 (hearing transcript generally at pgs. 40–43) and 227 (order)). The

26   Court stayed the litigation on January 16, 2020 before directPacket was required to serve its

27   amended infringement contentions or reduce the number of asserted claims.               Accordingly,

28   directPacket is required to comply with the Court’s order (ECF No. 227).

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                              AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1            III. LEGAL ISSUES

 2   The principal disputed legal issues are:

 3            Whether Polycom infringes the asserted claims of the ’588 patent under 35 U.S.C. § 271;

 4            Whether the asserted claims of the ’588 patent are invalid under 35 U.S.C. §§ 101, 102, 103

 5   or 112;

 6            The proper construction of disputed terms in the asserted claims of the ’588 patent;

 7            The damages directPacket is entitled to, if any, and whether such damages are limited by 35

 8   U.S.C. §§ 286 and 287 and, if so, to what extent;

 9            A determination on whether Polycom willfully infringed and/or continues to willfully infringe

10   the asserted claims of the ’588 patent;

11            Whether directPacket is entitled to a permanent injunction;

12            Whether directPacket is entitled to, and the extent of any, enhanced damages under 35 USC

13   § 284;

14            Whether directPacket’s claims of patent infringement are barred by estoppel, waiver,

15   ratification, acquiescence, consent, and/or unclean hands;

16            Whether directPacket’s claims are barred, in whole or in part, by 28 U.S.C. § 1498;

17            Whether directPacket is entitled to a finding that this case is exceptional under 35 USC § 284;

18            Whether any of the Parties are entitled to, and the extent of any appropriate relief under 35

19   USC § 285;

20            Whether any of the Parties are entitled to and the extent of other costs and expenses;

21            The Parties reserve the right to raise additional factual and legal issues that may arise

22   throughout the course of this action.

23            IV. MOTIONS

24            On February 6, 2023, Polycom filed a Motion for Judgement on the Pleadings of Patent-

25   Ineligibility pursuant to Rule 12(c) of the Federal Rules of Civil Procedure arguing that the claims

26   of the ’588 patent are invalid. The parties are currently briefing that motion. (ECF No. 257).

27            On December 5, 2019, Polycom filed a Motion to Compel directPacket to Comply with Patent

28   Rule 3-1 and/or to Strike Plaintiff’s Infringement Contentions, which was fully briefed and heard

                                                         5
                              AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1   by Magistrate Judge DeMarchi on January 14, 2020. (ECF Nos. 217 and 234 (hearing transcript).)

 2   Magistrate Judge DeMarchi granted Polycom’s “motion to compel amended infringement

 3   contentions … for the reasons stated on the record.” (ECF Nos. 234 (hearing transcript) and 227

 4   (order)). directPacket was ordered to serve amended infringement contentions by January 28, 2020

 5   and further narrow the number of asserted claims, which was not yet completed when the case was

 6   stayed. (ECF Nos. 234 (hearing transcript generally at pgs. 40–43) and 227 (order)).

 7         V. AMENDMENTS OF PLEADINGS

 8         directPacket filed its Complaint on June 21, 2018. (Dkt. No. 1). Polycom filed its Answer and

 9   Counterclaims on October 17, 2018. (Dkt. No. 28). directPacket filed its Answer to Polycom’s

10   Counterclaims on October 26, 2018 (Dkt. No. 29). The Parties are not currently aware of any

11   additional parties, claims, or defenses expected to be added to this matter.

12         VI. EVIDENCE PRESERVATION

13         The Parties have taken steps to preserve evidence relevant to these cases. The Parties have

14   reviewed the Guidelines Relating to the Discovery of Electronically Stored Information (“ESI

15   Guidelines”) and the Checklist for ESI Meet and Confer, and the Parties have met and conferred

16   pursuant to Fed. R. Civ. P. 26(f).

17         VII.    DISCLOSURES

18         The Parties exchanged initial disclosures on January 24, 2019.

19         VIII. DISCOVERY

20         A. Completed Discovery

21         The Parties exchanged initial written discovery requests – Requests for Production and

22   Interrogatories in early January 2019. The Parties responded to those requests as follows: (i)

23   producing and reviewing documents and Source Code; (ii) responding to interrogatories (including

24   exchanging responses to infringement and invalidity contention interrogatories); (iii) briefing and

25   arguing discovery motions; (iv) obtaining third-party discovery (including source code); and (v)

26   exchanging correspondence identifying discovery deficiencies and conducting meet and confers

27   regarding those deficiencies.

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                            AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1         Pursuant to the schedule entered prior to the stay, the parties have completed claim

 2   construction discovery and will be prepared to file claim construction briefs on the remaining terms

 3   needing construction.

 4            B. Discovery to Be Completed

 5         Prior to the stay, certain discovery tasks were not completed. For example, the Parties had

 6   not begun the following discovery tasks: email discovery; expert discovery; and depositions of party

 7   and third-party witnesses. In addition, all prior discovery will need to be supplemented and/or

 8   otherwise updated (e.g., damages figures, etc.)

 9            C. Protective Order and ESI

10         The Parties have agreed to the Protective Order and ESI Order (ECF Nos. 73 and 74) which

11   were adopted by the Court. (ECF No. 202).

12         Polycom believes Judge Donato’s Standing Order for E-Discovery and Email Discovery in

13   Patent Cases, which limits email production requests to a total of five custodian and five search

14   terms per custodian, should be adopted.

15            D. Limits to Discovery Requests and Depositions

16         At this time, the Parties do not anticipate a need to limit or modify the limits set by the Federal

17   Rules of Civil Procedure.

18         IX. CLASS ACTIONS (NOT APPLICABLE)

19         X. RELATED CASES

20         There are no pending related cases.

21         XI. RELIEF
           A.    directPacket’s Statement
22
           directPacket seeks entry of judgment finding that Polycom infringes the asserted claims of
23
     the ’588 patent, both directly and indirectly. directPacket seeks monetary damages, including
24
     damages based an amount no less than a reasonable royalty, and enhanced damages based upon
25
     directPacket’s allegations of willful infringement. directPacket further seeks a judgment that this
26
     case is exceptional and an award of directPacket’s costs and reasonable attorneys’ fees. directPacket
27
     seeks other relief available under applicable law.
28

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                             AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1         B.      Polycom’s Statement

 2          Polycom seeks entry of judgment denying all relief requested by directPacket, dismissal of

 3   all directPacket’s claims against Polycom with prejudice, and an order that directPacket take nothing

 4   from Polycom; entry of judgment in Polycom’s favor on Polycom’s counterclaims; entry of

 5   judgment that Polycom has not infringed and is not currently infringing, either directly, indirectly,

 6   literally, under the doctrine of equivalents, contributorily or through inducement, any valid and

 7   enforceable claims of the ’588 patent; entry of judgment that the asserted claims of the ’588 patent

 8   are invalid, void, unenforceable and/or without any force or effect against Polycom; judgment that

 9   directPacket is not entitled to injunctive relief; a finding that this case is exceptional and award

10   reasonable attorneys’ fees, costs, expenses, and prejudgment interest to Polycom under 35 U.S.C. §

11   285 or any other statutory and legal bases; and an award to Polycom any further general or special

12   relief to which Polycom is entitled and/or the Court deems just and equitable.

13         XII.    SETTLEMENT AND ADR

14         As required by ADR L.R. 3-5, the Parties have reviewed the Court’s ADR handbook,

15   discussed the available ADR procedures and considered whether this case would benefit from an

16   ADR procedure. On March 27, 2019, the Parties participated in a Settlement Conference with

17   Magistrate Judge Robert J. Krask of the United States District Court for the Eastern District of

18   Virginia. No settlement was reached at that conference.

19         directPacket believes that further settlement discussions or participation in private mediation

20   would not be productive at this time. As an alternative, directPacket suggests that the Parties

21   exchange updated settlement positions after the court enters a claim construction order in this case

22   to determine whether a second Settlement Conference or mediation would be productive.

23         XIII. CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES

24         On July 25, 2019, Polycom filed a declination to proceed before a United States Magistrate

25   Judge for all purposes.

26         XIV. OTHER REFERENCES

27         The Parties agree that at this time this case is not suitable for reference to binding arbitration,

28   a special master, or Judicial Panel on Multidistrict Litigation.

                                                        8
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 1          XV.    NARROWING OF ISSUES

 2          Other than directPacket’s compliance with the Court’s January 14, 2020 Order (ECF No.

 3   227), the Parties have not at this time identified other issues that can be narrowed by motion or

 4   stipulation, although the Parties do anticipate filing dispositive motions seeking to narrow the issues

 5   for trial. The Parties may also be able to narrow certain issues via stipulated facts once discovery

 6   has progressed.

 7          XVI. EXPEDITED TRIAL PROCEDURE

 8          The Parties do not propose that this case proceed under the Expedited Trial Procedure of

 9   General Order 64.

10          XVII. SCHEDULING

11          The parties’ proposed schedule is provided in Appendix A.

12          XVIII. TRIAL

13          The Parties request trial by jury and anticipate the trial will require approximately 5 court

14   days. These estimates may change depending on the actual claims and defenses presented at trial.

15          XIX. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS

16          directPacket filed a Certification of Interested Entities or Persons as required by Civil Local

17   Rule 3-15. directPacket certifies that other than the two individuals and one entity named in its

18   certification, there are no further entities or persons to report under Civil L.R. 3-15.

19          On January 20, 2023, Polycom filed an Amended Certificate of Interested Entities or Persons

20   as required by Local Rule 3-15. (ECF No. 254.) Polycom certifies that it has no further entities to

21   report under Civil L.R. 3-15.

22          XX.    PROFESSIONAL CONDUCT

23          The Parties have confirmed that all attorneys of record for the Parties have reviewed the

24   Guidelines for Professional Conduct for the Northern District of California.

25          XXI. OTHER

26          A. Proposed Modifications to the Patent Local Rules

27          The Parties propose the deadlines set forth in the attached proposed case schedule (Appendix

28   A).

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 1            B. Scope and Timing of Claim Construction Discovery

 2         The Parties’ proposals regarding the scope and timing of claim construction discovery are set

 3   forth in Appendix A, respectively.

 4            C. Format of the Claim Construction Hearing

 5         The Parties propose a two-hour Claim Construction Hearing. Subject to the Court’s

 6   preference, the Parties propose that they present arguments on a term-by-term basis following an

 7   order of claim terms negotiated by the Parties prior to the claim construction hearing. The Parties

 8   believe that live testimony is not necessary.

 9            D. Technology Tutorial

10         The parties request that they be permitted to present a technology tutorial to the Court.

11            E. Non-Binding, Good-Faith Estimate of Damages Range

12         Based on the limited discovery available, directPacket estimates the amount in controversy

13   in this action will be in excess of $100,000,000.00.

14         Polycom does not believe it owes directPacket any damages. In the event liability is found,

15   Polycom does not believe directPacket’s estimate is a good faith estimate. Polycom believes a

16   reasonable royalty would be the most appropriate measure of damages, where that royalty is

17   appropriately apportioned to the specific features claimed in the Asserted Patents.

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                            AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1   Dated:   March 1, 2023                   Respectfully submitted,

 2
                                               /s/   Tami Kameda Sims
 3
                                              Tami Kameda Sims (SBN 245628)
 4                                            tami.sims@katten.com
                                              KATTEN MUCHIN ROSENMAN LLP
 5                                            2029 Century Park East, Suite 2600
                                              Los Angeles, CA 90067-3012
 6                                            Telephone: (310) 788-4400

 7                                            Terence P. Ross (Pro Hac Vice)
                                              terence.ross@kattenlaw.com
 8                                            Sean S. Wooden (Pro Hac Vice)
                                              sean.wooden@kattenlaw.com
 9                                            Christopher B. Ferenc (Pro Hac Vice)
                                              christopher.ferenc@kattenlaw.com
10                                            KATTEN MUCHIN ROSENMAN LLP
                                              2900 K Street, N.W., Suite 200
11                                            Washington, D.C. 20007
                                              Telephone: (202) 625-3500
12                                            Facsimile: (202) 298-7570

13
                                               Attorney for Plaintiff
14                                            directPacket Research, Inc.

15   Dated:   March 1, 2023
                                              Respectfully submitted,
16

17                                             /s/ Eimeric Reig-Plessis

18                                            Kelly C. Hunsaker (SBN: 168307)
                                              KHunsaker@winston.com
19                                            Eimeric Reig-Plessis (SBN: 321273)
                                              EReigPlessis@winston.com
20                                            WINSTON & STRAWN LLP
                                              255 Shoreline Drive, Suite 520
21                                            Redwood City, CA 94065
                                              Telephone: (650) 858-6500
22                                            Facsimile: (650) 858-6550

23                                            Samantha M. Lerner (admitted pro hac vice)
                                              SLerner@winston.com
24                                            WINSTON & STRAWN LLP
                                              35 W. Wacker Drive
25                                            Chicago, IL 60601
                                              Telephone: (312) 558-5600
26                                            Facsimile: (312) 558-5700

27                                            David P. Dalke (SBN: 218161)
                                              DDalke@winston.com
28                                            WINSTON & STRAWN LLP
                                              333 S. Grand Avenue
                                         11
                       AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1                                          Los Angeles, CA 90071-1543
                                            Telephone: (213) 615-1700
 2                                          Facsimile: (213) 615-1750

 3                                          Attorneys for Defendant Polycom, LLC

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                   AMENDED JOINT CASE MANAGEMENT STATEMENT
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 1

 2                                         Appendix A

 3                                 Parties’ Proposed Schedule
     Scheduled Event                             Date
 4
     directPacket serves Amended Supplemental June 20, 2023
 5   Infringement Contentions per ECF Nos. 227
     and 234
 6
     directPacket identifies asserted claims of the June 20, 2023
 7   ’588 patent per ECF Nos. 227 and 234
     Fact Discovery Commences                       June 20, 2023
 8
     Opening Claim Construction Brief              July 21, 2023
 9   Responsive Claim Construction Brief           August 4, 2023
10   Reply Claim Construction Brief                August 11, 2023
11   Claim Construction Hearing                    At the Court’s earliest convenience after the
                                                   close of briefing
12   Deadline to Disclose Reliance on Advice of    30 days after claim construction order per
     Counsel and Production of Opinion             Patent L.R. 3-7
13
     Close of Fact Discovery                       March 5, 2024
14
     Opening Expert Reports                        May 17, 2024
15   Rebuttal Expert Reports                       June 21, 2024
16
     Close of Expert Discovery                     July 26, 2024
17

18   Last Day to File Dispositive Motions and      August 16, 2024
     Daubert Motions
19
     Hearing on Dispositive Motions and            October 3, 2024 (or at the Court’s
20   Daubert Motions                               convenience)
     Final Pretrial Conference                     At the Court’s convenience
21
     Jury Trial                                    At the Court’s convenience
22
     Length of Trial                               5 days
23

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                       AMENDED JOINT CASE MANAGEMENT STATEMENT
